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Steven Zinmnel, #66138-097

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Federal Correctional institution F f i FE D i
' EPC Sheridan . i}

P.O. Box, 6000 7
Sheridan, OR 97378-600 AUG 09 2021

EA CLERK. U.S. DISTRICT COURT

STERN DISTRICT
Defendant in Pro Se Ded By OF CALIEBRNIA
. . DEPUTY CLERK

IN THE UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA Case No.: 2:21-mc-00098-TLN

Criminal Case No.: 2:1 -cr-00234-TLN
Plantiff DEFENDANT STEVEN ZINNEL’S ’

v. NOTICE OF MOTION AND MOTION:
sO SEEKING DISTRICT COURT RULINGS
ON ZINNEL'S PREVIOUSLY FILED
STEVEN ZINNEL, : OBJECTIONS TO MAGISTRATE JUDGE
ALLISON CLAIRE'S PRE-TRIAL

Defendant and Judgment Debtor. RULINGS BY AN ARTICLE III JUDGE,

OTHER THAN JUDGE TROY L. NUNLEY,
AS REQUIRED BY FED.R.CIV.P. 72(A) |
AND ED CA LOCAL RULE 303(C) AND
304(B); MEMORANDUM OF POINTS AND

AUTHORITIES ;
REQUEST FOR RECONSIDERATION BY

THE DISTRICT COURT OF
MAGISTRATE JUDGE'S RULINGS

TD AMERITRADE CLEARING, INC.,
(and its Successors and Assignees)

Garnishee.

HEARING [Oral Argument Requested -
by. video appearance]

Date: September 16, 2021
Time: 2:00 PM

Judge: Hon. Troy L. Nunley
Ct.Rm.: 2

To the Honorable Court, Plaintiff United States of America,

and any person. or entity that has appeared in the above-captioned

case,

PLEASE TAKE NOTICE that on September 16, 2021 at-2:00 PM,

@r as soon thereafter as this matter may be heard in Courtroom 2

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in the above-entitled Court located at 501 I Street,
Sacramento, California, 95814 for hearing, defendant and
alleged judgment debtor Steven Zinnel ("Zinnel") will and
hereby does move the Court to have a district court judge,
other than Judge Troy L. Nunley, rule on Zinnel's previously
filed Objections and Request for Reconsideration of
Magistrate Judge Allison Claire's pre-trial rulings

pursuant to Federal Rule of Civil Procedure 72 (a) and

ED CA Local Rules 303{c) and 304(b). This motion seeks an

Article III judge's rulings on Zinnel's Objections and
Request for Reconsiderations previously filed and contained
in the Court's docket as ECF numbers 40, 33, 32, 56, 63, 67,
86, and 92.
Zinnel's timely filed objections to the magistrate

judge's pre-trail orders specifically cited Fed.R.Civ.P.-

Rule 72(a) and ED CA Local Rules 303(c) and 304(b). Under

ED CA Local Rule 303(e), a. noticed motion was not required -

and ED CA Local Rule 303(e) specifies that Zinnel's Objections

and requests for reconsiderations should have been
automatically referred to the assigned judge by the Clerk
without the necessity of a specific motion for such

reference, ED CA Local Rule 303(d) required Plaintiff

United States of America to file any opposition to Zinnel's
objections referenced above within seven (7) days. Plaintiff
has not filed a single opposition to Zinnel's Objections thus

they are unopposed.

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‘Even though under ED CA Local Rule 303(e), Zinnel is

not required | to file a noticed motion to object to a magistrate
judge' Ss pre-trial orders, on June 29, 2021, Relief Courtroom
Deputy M. York issued a Minute Order for Judge Troy L. Nunley
directing Zinnel to file a noticed motion which is in

conflict with ED CA Local Rules 303(c) and 303{e). (see

ECF #76). The Minute Order only concerns Zinnel's
objection to the magistrate judge's order contained in the
docket as ECF #67. No minute: orders have been issued

concerning Zinnel's objections to magistrate judge's orders

jjcontained in the docket at ECF nos. 40, 33, 32, 56, 63; 86,

and 92. Even though not required to do so under ED CA

Local Rules 303(c) and 303(e), Zinnel complied with the

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“al.

Minute Order (ECF #76) and filed a noticed motion. (ECF 92).
No Article III judge has ruled on any of Zinnel's
timely filed abjections to the magistrate judge's erroneous
orders: that are “clearly erroneous".and “contrary to law."
Therefore, this motion seeks an Article III judge's rulings
on all of Zinnel's outstanding objections and requests for.

for reconsideration of the magistrate judge's rulings.

This motion is based on this notice, the attached
memorandum of points and authorities, ‘the Objections and
Requestsfor Reconsidertions previously served on the parties -
and timely filed, and reflected on the docket as ECF, numbers
40, 33, 32, 56, 63, 67, 86, and 92, the records and files in

this court, and any oral argument.

Steven Zinnel Dated: ohh

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MEMORANDUM OF POINTS AND AUTHORITIES

As of July 28, 2021 Zinnel has not received any
ruling. by an Article III district court judge on Zinnel's

pending Requests for Reconsideration by the District Court

of Magistrate Judge's Rulings and Objections to the

Magistrate Judge's aforementioned orders. The following

Requests for Reconsideration and Objections to the Magistrate

Judge's orders are pending and awaiting a ruling and

modification by an Article III district court judge other
than Judge Troy L. Nunley. FN #1:

1) Request for Reconsideration and Objection to .
the Magistrate Judge's May 6, 2021 Order (ECF # 26)
Denying "Plaintiff's" (sic) Motion to Appoint Counsel;

[deemed filed May 17, 2021 FN #2] (ECF #40)

2) Request for Reconsideration and Objection to
the Magistrate Judge's May 7, 2021 Order (ECF #24)
.Providing Plaintiff thirty (30) days to file a response,
but providing Zinnel only seven (7) days to file a .
response [deemed filed May 16, 2021 FN #2]; (ECF #33)

3) Request for Reconsideration and Objection to
the Magistrate Judge's May 7, 2021 Order (ECF #27)
Denying Zinnel's Timely Request Pursuant to
28 U.S.C. 3004(b)(2) to Transfer this Garnishment
Proceeding to the District Court for the District in
which the Alleged Debtor Resides which is the.
District of Oregon [deemed filed May 16, 2021 FN #2];
Doe . (ECF #32)
4) Request for Reconsideration and Objection to.
the Magistrate Judge's May 21, 2021 Order (ECF #39).
Directing Zinnel to Renotice his Pending Motions
[deemed filed June 1, 2021 FN #2} (ECF #56)

FN #1 On May 3, 2021, Zinnel filed an Objection to Judge
Troy L. Nunley presiding over this case and Zinnel
‘renewed his Motion to Recuse and Disqualify Judge (ECF
Troy L. Nunley which is Docket Entry #558 in
United States v. Steven Zinnel, U.S.D.C. ED CA
case no. 2:11-cr-00234-TLN which has not been ruled on.

#18)

FN #2 Under prison "mailbox rule" Houston v. Lack, 487 U.S. 266

(1988). 4
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5) Request for Reconsideration and Objection to

6)

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the Magistrate Judge's May 25, 2021 Order (ECF #44)
Denying Steven Zinnel's Motions Reflected on the

Court's Docket as ECF nos. 36, 41, 29, 34, 35, 37, & 30

and Request that a District Court Judge, other than
Judge Troy L. Nunley rule on the objections
[deemed filed June 4, 2021 FN #2] (ECF #63)

Request for Reconsideration and Objection to

the Magistrate Judge's May 25, 2021 Order (ECF #60)
Denying Steven Zinnel's Motions Reflected on the
Court's Docket as ECF nos. 58 & 59 amd Request that
a District Court Judge, other than Judge Troy L.
Nunley rule on the objections

[deemed filed June 18, 2021 FN #2] (ECF #67)

Request for Reconsideration by the District Court of
Relief Courtroom Deputy M. York's Minute Order made
6/29/21 (ECF #75) Directing Zinnel's Motion to Vacate
Reference to Magistrate Judge to be Renoticed

before a magistrate judge as being contrary to law
[deemed filed July 11, 2021 FN #2] (ECF #86)

Request. for Reconsideration by the District Court of
Relief Courtroom Deputy M. York's Minute Order made
6/29/21 (ECF #76) Stating that Zinnel's Request

for Reconsideration of a Magistrate Judge's Order
(ECF #67) was Deficient and Directing Zinnel to

file a Noticed Motion as being Contrary to

Local Rule 303(c) and 303(e)

Ldeemed filed July 14, 2021 FN #2] (ECF #92)

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I. KEY LAW

‘The right to adjudication before an Artiché III judge

is an important constitutional right. United States v.
Mortensen, 860 F.2d 948, 950 (9th Cir. 1988); Pacemaker

Diagnostic Clinic of America, Inc. v. Instromedix, Inc.,

725 F.2d 537, 541 (9th Cir. 1984) (en banc). Critically,

under the magistrate judge system, even though a magistrate

, judge may be designated to determine most pretrial matters

directly, the parties can ask the district court to
reconsider any such matter if "the magistrate judge's. order
is ¢learly erroneous or contrary to law."

28 U.S.C. 636(b)(1)(A); Louis Branch v. D. Umphenour ,

936 F.3d 994 (9th Cir. 2019) (reversing an Eastern District

of California judicial decision). Under the magistrate .

judge system, no party will be denied independent review

by an Article III judge. Louis Branch Id. . This includes
Zinnel who in fact is the named defendant in this case,
Any denial would Lack the' requisite supervision by an

Article III officer.

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Fed.R.Civ.P. 72(a) concerns: Magistrate Judge's pretrial
orders on Nondispositive matters and states in relevant part:

When a pretrial matter not dispositive of a party's
' claim or defense is referred to a magistrate
judge to hear and decide, the: magistrate judge

must promptly...,issue a written order stating the
decision.

A party may serve and file objections to the order
within 14 days after being served with a copy.

The district judge in the case must consider timely
objections and modify or set aside any part of the
order that is clearly erroneous or contrary to law.
(emphasis added)

U.S.D.C, ED CA Local Rule 303(c) is alligned with

Fed.R.Civ.P. 72(a) as it states a party may seek -
reconsideration by a district court judge of a magistrate

judge's ruling. ED CA Local Rule 303(d) requires any

opposition to a party's objection to a magistrate judge's
ruling shall be served and filed within seven (7) days.

(emphasis added).

Form of Objection

Ordinarily, when a pro se litigant submits a letter
expressing disapproval of an adverse magistrate judge's.
ruling on a non-dispositve matter within the fourteen (14)
day allotted time period, the court of appeals would deem
the letter to be a motion for reconsideration so long as it

reasonable apprised the district court that the magistrate

judge's ruling was being contested. McKeever v. Block,

932 F.2d 795 (9th Cir. 1991). For purposes of Rule 72,
written objections of a prisoner proceeding pro se, are

deemed Filed and served when they are forwarded to prison

officials. Thompson v. Rasberry, 993 F.2d 513 (5th Cir. 1983):

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A party may object to a non-dispositive pre-trial order.
of.a magistrate judge within fourteen (14) days after service
of the order. Fed.R.Civ.P. 72(a); ED CA Local Rule 303(c) and

304(b). If Zinnel was prevented by the court in this case to

petition an Article III judge for review, such an arrangement
would raise significant constitutional difficulties. Pacemaker,
The “clearly ertoneous" standard applies to a magistrate |

judge's factual findings whereas the "contrary to law" -"-

standard applies to a magistrate judge's legal conclusions.

@.g. Grimes Vv. City of San Francisco, 951 F.2d 236, 240
(9th Cir. 1991). A magistrate judge's finding is “clearly
erroneous" if the district judge has a "definite and firm

conviction that a mistake has been committed." United States

v. U.S. Gypsum Co., 333 U.S. 364,.395 (1948). An order is

“contrary to law" when it fails to apply or misapplies —-

relevant statutes, case law,-or rules of. procedure."

United States v. Desage, 229 F.Supp 3d 1029 (D. Nev., 1/9/17).
The law is well~settled that no party will be denied

independent review by. an Article III judge. Louis Branch v.

D. Umphenour, 936 F.3d 994 (9th Cir. 2019) (reversing: an
Eastern District of California judicial decision). Thus, in
upholding the magistrate judge system against constitutional _.

attacks, Article III judges retain "continuing responsibility

(for the administration of the judicial business of the United

States." Pacemaker v. Instromedix, 725 F.2d 537 (9th Cir. 1984

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_ This court must provide Zinnel with a
liberal pleading standard

' As a pro se incarcerated litigant, Zinnel is entitled.
to and requests that this court provide him the liberal

pleading standard as expressed in Estelle v. Gamble,

429 U.S. 97 (1976). The doctrine obliges this court to
apply the law and rules liberally and with a duty of
construance under any provision or practice, which would be
most “beneficial for the relief being sought regardless of
couching or format presented by Zinnel as a pro se pleader.
As a result of Zinnel's pro se status and formidable
obstacles Zinnel faces as an incarcerated defendant, Zinnel's
Request for Reconsiderations and Objections to the magistrate
judge's erroneous rulings, must be held to less stringent

standards than those drafted by attorneys. Haines v. Kerner,

404 U.S. 519 (1972).
II. ANALYSIS

In this garnishment case, Zinnel has objected to and
requested reconsideration of every single ruling thus far
made by United States Magistrate Judge Allison Claire

because they are “clearly erroneous," "

contrary to law," and
do not maintain a level playing field which is the hallmark-
of federal-court litigation. Further, the magistrate judge
does not have jurisdiction to rule in this case because

Zinnel made a timely request to transfer this case to the

District of Oregon. (see ECF #21).

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Pages four and five of this motion identify the eight (8)
Objections and Requests for Reconsideration Zinnel has filed
that are waiting for a ruling by an Article III judge other
than Judge Troy L. Nunley because of Zinnel's pending
objeciton and motion to recuse. All of Zinnel's filed .
objections to the magistrate judge's erroneous rulings are

'

detailed, cited dispositive law and facts, gave specific

/notice of Zinnel's grievances, and were timely made within

fourteen (14) days.

Plaintiff United States of America and its plethora of
attorneys have not filed a single opposition to Zinnel's
objections ‘and requests for reconsideration and the seven= day

time period allotted under ED CA Local Rule 303(d) has

long since expired. Therefore, the requested relief is

unopposed by the government.
The law is clear that Zinnel cannot be denied

independent review by an Article III judge. Louis Branch,

supra. . Zinnel's objections have been pending for months.
Zinnel's third objection, ECF #32, affects the Eastern
District of California's jurisdiction in this case because

this case must be transferred to the District of Oregon

pursuant to Zinnel's timely request under 28 U.S.C. 3004(b)(2)

Zinnel filed an ex parte application.for an Article III
judge to rule on the objections identified herein. (ECF #69).
Zinnel respectfully, but steadfastly, requests via this

motion that Zinnel's objections are ruled upon forthwith.

Steven Zinnel Dated: lp [x
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CERTIFICATION OF SERVICE

By United States Mail
I hereby certify that at the time of service, I was ower

the age of 18. I further certify that on 8 fz/z;

-I_.served a_ true and correct copy of the foregoing on:
AUSA Lynn Trinka Ernce

AUSA Kurt A. Didier

U.S. Attorney's Office, ED CA

501 I Street, Suite 10-100

Sacramento, CA 95814 ‘

Attorney for Plaintiff

K. Greg Peterson |

K. Greg Peterson, A Professional Law Corporation

455 Capitol Mall, Suite 325
Sacramento, CA 95814

Attorney for Third-Party Claimant David Zinnel

) by United States Mail, in a sealed envelope with the postage
thereon fully prepaid, and then depositing the foregoing with
- prison authorities at FPC Sheridan, 27072 Ballston Road, _
Sheridan, OR 97378.

" when a pro se prisoner gives

Under the "mailbox rule,
. prison authorities a pleading to mail to a’court, the court -
deems the pleading constretively "filed" on the date it is
signed. Roberts v. Marshall, 627 F.3d 768, 770 n.1

(9th Cir. 2010); Houston v. Lack, 487 U.S. 266, 270-271,

108 S.Ct. 2379, 101 L.Ed.2d 245 (1988).

I certify under penalty of perjury under the laws of. the

United States of America that the foregoing is true and correct.

Steven Zinnel, #66138- 097
FPC Sheridan -
P.O. Box 6000
.Sheridan, OR 97378-6000
